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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :
                                                :
       v.                                       :      Criminal No. 21-cr-445 (CKK)
                                                :
ANDREW ALAN HERNANDEZ,                          :
                                                :
                       Defendant.               :

            GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
             TO LOCAL CRIMINAL RULE 49 AND STANDING ORDER 21-28

       The United States hereby gives notice, pursuant to Local Criminal Rule 49 and Standing

Order 21-28, of the following exhibits that were provided by the government to the Court and

defendant’s counsel via USAfx on or about January 19, 2023 for consideration in anticipation of

the defendant’s sentencing hearing. Exhibit Nos. 1 through 7 are videos referenced in the

government’s Memorandum in Aid of Sentencing. ECF No. 54. At the defendant’s sentencing

hearing held on January 30, 2023, only clips from Exhibits Nos. 1, 2, 2.1, 4.1, 5, 6, and 7 were

shown in Court, however, all of the exhibits were admitted. The United States does not object to

releasing these exhibits to the public.

                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                United States Attorney
                                                D.C. Bar No. 481052

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